USCA4 Appeal: 23-6163     Doc: 7         Filed: 03/10/2023       Pg: 1 of 1



                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                            March 10, 2023

                                   ____________________________

                                DOCKET CORRECTION NOTICE
                                ____________________________

        No.    23-6163, US v. Bobby Collins, Jr.
                        7:17-cr-00033-EKD-JCH-1, 7:21-cv-81470-EKD-JCH

        TO:    Bobby Nelson Collins

        REDACTED DOCUMENT DUE: March 15, 2023

        Under Fed. R. App. P. 25(a)(5), filers are required to redact the following personal
        data identifiers from documents filed on appeal. Please redact and re-file your
        document in accordance with the requirement(s) identified below.

          [ XX ] Protected criminal information must be redacted.

        Rachel Phillips, Deputy Clerk
        804-916-2702
